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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------x
Stillwater Liquidating LLC,
                                                                          Bankruptcy Case No.
                                 Plaintiff-Appellant,                     12-14140 (MEW)

                       -against-                                          Adv. Proc. No.
                                                                          14-2245 (MEW)
Net Five at Palm Pointe, LLC; Net Five Holdings LLC;
Planet Five Development Group LLC; Net Five South
Beach LLC; Net Five at Kings Hotel LLC; Net Five at
Hallandale LLC; Boggy Creek Villas, LLC; Net Five East
Lyme, LLC; Net Five-FDA at Islamorada, LLC; 1888         No. 16-cv-08883 (ER)
Boggy Creek Road, LLC; Planet Five at Gerova LLC;
Paul Rohan; Eric Halter; Paradigm Credit Corporation;    (Hon. Edgardo Ramos)
Saunders Capital LLC; Calhoun Commercial Construction
LLC; Judge Street Realty LLC; SFN Dekalb Holdings LLC;
Memphis Blues Acquisition Group, LLC; Shreeji
Hospitality of Charlotte, LLC; Redrock Kings, LLC;
John R. Daniel, III; Yvette Daniel; Stephen J. McDonald;
Vicki McDonald; CL RP Stonecrest LLC; 335 Washington
Avenue – Miami Beach LLC; 347 Washington Avenue –
Miami Beach LLC; and Alma Bank,

                                 Defendant-Appellees.
----------------------------------------------------------------------x

                                   NOTICE OF APPEARANCE

           PLEASE TAKE NOTICE that defendant-appellee Paradigm Credit Corporation

appears in the above-captioned appeal, by its counsel, McLaughlin & Stern, LLP, and

hereby requests that copies of all notices and pleadings given or required to be given and

all papers served or required to be served in the above-captioned appeal be given to and

served upon:




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             Case 1:16-cv-08883-ER Document 24 Filed 01/26/17 Page 2 of 2



                                  Brian J. Grieco, Esq.
                               McLaughlin & Stern, LLP
                           1010 Northern Boulevard, Suite 400
                             Great Neck, New York 11021
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                               Facsimile: (516) 829-6966
                             bgrieco@mclaughlinstern.com


           PLEASE TAKE FURTHER NOTICE that the foregoing request includes,

without limitation, any notice, application, proposed order, motion, petition, pleading,

complaint, demand, or request, whether formal or informal, whether written or oral, and

whether transmitted or conveyed by mail, e-mail, courier service, hand delivery,

telephone, facsimile transmission, or otherwise filed or made with regard to this appeal,

which may affect or seek to affect any rights or interests of any party to this appeal.


           PLEASE TAKE FURTHER NOTICE that the undersigned hereby demands that

the name and address set forth above be added to the mailing matrix in this case.


Dated: January 26, 2017

                                           McLAUGHLIN & STERN, LLP


                                           By:   /s/ Brian J. Grieco
                                                 Brian J. Grieco
                                           1010 Northern Boulevard, Suite 400
                                           Great Neck, New York 11021
                                            (516) 829-6900

                                           Attorneys for Paradigm Credit Corporation




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